            Case 2:19-cv-05946-RBS Document 36 Filed 01/14/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AC2T, INC. d/b/a                              :
SPARTAN MOSQUITO                              :
                                              :       CIVIL ACTION
       v.                                     :
                                              :       NO. 19-5946
COLIN PURRINGTON                              :

                                            ORDER

       AND NOW, this 14th day of January 2022, upon consideration of Defendant’s Motion

For Sanctions (ECF No. 31), and Plaintiff’s response thereto (ECF No. 32), it is ORDERED that

the Motion is DENIED. 1

       IT IS SO ORDERED.

                                                      BY THE COURT:


                                                      /s/ R. Barclay Surrick
                                                      R. BARCLAY SURRICK, J.
       1
           In this defamation action, Defendant Purrington filed a Motion For Sanctions against
Plaintiff Spartan’s counsel for allegedly having ex parte contact with this Court. No such contact
occurred. We will deny Defendant’s motion.
        On two occasions, Plaintiff’s counsel sent an email to our chambers alleging that
Defendant failed to comply with discovery requests and schedule depositions. Plaintiff
requested either that we schedule a conference or enter an order requiring that Defendant fulfill
his discovery obligations. Plaintiff’s counsel “carbon copied” (CCed) Defendant’s counsel on
both occasions. Defendant’s counsel acknowledges they were sent and does not deny receiving
them. These letters were not ex parte communication.
        Ex parte communication is communication that is “[d]one or made at the instance and for
the benefit of one party only, and without notice to, or argument by, anyone having an adverse
interest; of, relating to, or involving court action taken or received by one party without notice to
the other.” EX PARTE, Black's Law Dictionary (11th ed. 2019). Defendant’s counsel was
provided with the letters and could have sent a response if he wished. There was adequate
notice. We find nothing improper about Plaintiff’s counsel’s conduct. Therefore, we will deny
Defendant’s Motion For Sanctions.
